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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF omo                          2CT~3NOV -8 PH 2: 57
                                  WESTERN DIVISION

 UNITED STATES OF AMERICA,

                Plaintiff,
                                                       JUDGE
        vs.                                                         I.HOPKINS
                                                       INDICTMENT
 RICHARD CROSBY,                                       18 u.s.c. § 1343
 a/k/a "Richard Williams,"                             42 U.S.C. § 408(a)(7)(B)
 a/k/a "Chris Miller,"                                 18 U.S.C. § 1028A

               Defendant.

THE GRAND JURY CHARGES:

                                        COUNTS 1-13
                                        (Wire Fraud)

l.     RICHARD CROSBY was admitted to practice law in Ohio on or about May 5, 2014.

2.     On or about November 6, 2020, the Cincinnati Bar Association filed a complaint against

       CROSBY with the Board of Professional Conduct of the Supreme Court of Ohio (case

       20-065). The complaint alleged that CROSBY violated numerous rules of professional

       conduct when he was employed at a law firm in Cincinnati from April 2018 to September

       2019.

3.     On or about April 22, 2021, the Board of Professional Conduct entered an order staying

       the disciplinary proceedings because CROSBY had indicated his intent to resign from the

       practice oflaw.

4.     On or about June 24, 2021, CROSBY was indicted in Hamilton County with Felony

       Theft and Unauthorized Use of Property (case B 2103088). The charges alleged that

       CROSBY stole client funds while acting in his capacity as an attorney.



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5.      On or about September 27, 2021, the Ohio Supreme Court issued an order accepting

        CROSBY's resignation from the practice oflaw with disciplinary action pending.

6.      On or about November 8, 2021, CROSBY was indicted in Hamilton County with theft

        and telecommunications fraud (case B 2105212).

7.      On or about May 5, 2022, CROSBY was arrested in connection with both of his pending

        Hamilton County criminal indictments. He pled guilty in both cases on or about May 26,

        2023. On or about June 27, 2023, he was sentenced to probation in both cases.

                                            The Scheme

8.      From in or about April 2021 to in or about October 2023, the defendant, RICHARD

        CROSBY, devised and intended to devise a scheme to defraud, and to obtain money and

        property by means of materially false and fraudulent pretenses, representations and

        promises.

                                        Manner and Means

9.      It was part of the scheme that on or about April 26, 2021, CROSBY established the email

        account richardcwilliamsesq@gmail.com.

10.     It was part of the scheme that on or about June 1, 2021, CROSBY applied for a job as an

        attorney at "Law Firm #1," a law firm located in or about Washington, D.C. CROSBY

        used the alias "Richard Williams" and provided a resume with falsified credentials.

        Based on this false information, the firm hired him.

11.     It was part of the scheme that in or about September to October 2022, CROSBY applied

        for a job as an attorney with "Law Firm #2," a law firm located in or about Miami,

        Florida. CROSBY used the alias "Richard Williams" and provided a resume with

        falsified credentials. Based on this false information, the firm hired him.




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12.     It was part of the scheme that on or about October 12, 2022, CROSBY sent an email to a

        recruiter for Law Firm #2 in which he falsely claimed to be a member of the bar in New

        York and the District of Columbia.

13.     It was part of the scheme that on or about October 17, 2022, CROSBY sent an email to

        Law Firm #2. He attached a Form I-9 in which he falsely claimed that his Social Security

        number was xxx-xx-9414 and his passport number was xxxxx3183 . He also attached an

        IRS Form W-4, in which he falsely claimed that his Social Security number was xxx-xx-

        9414. These numbers belong to a different person, with whom CROSBY was personally

        acquainted.

14.     It was part of the scheme that in or about July 2023, CROSBY applied for a job as an

        attorney with "Law Firm #3," a law firm located in or about Los Angeles, California.

        CROSBY used the alias "Richard Williams" and provided falsified credentials.

15.     It was part of the scheme that in or about July 2023, CROSBY applied for a job as an

        attorney with "Law Firm #4," a law firm located in or about Coral Gables, Florida.

        CROSBY used the alias "Richard Williams" and provided falsified credentials.

16.     It was part of the scheme that on or about July 25, 2023, CROSBY sent an email to Law

        Firm #4 to negotiate a job offer.

17.     It was part of the scheme that on or about July 26, 2023, CROSBY sent an email to Law

        Firm #4. He attached a forged document that purported to be a screen shot from the

       District of Columbia Bar website to falsely prove his membership. He also attached a

        biography in which he falsely stated that he held a J.D. degree from the University of

       Michigan and that he was a member of the bar in New York and the District of Columbia.




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 18.      It was part of the scheme that on or about August 29, 2023, CROSBY applied for a job as

          an attorney with "Law Finn #5," a law firm located in or about Detroit, Michigan.

          CROSBY used the alias "Richard Williams" and provided falsified credentials.

19.      It was part of the scheme that on or about August 31, 2023, CROSBY sent an email to

         Law Firm #5 to negotiate terms of employment.

20.      It was part of the scheme that on or about September 1, 2023, CROSBY sent an email to

         Law Finn #5 in which he attached a screen shot from the District of Columbia Bar

         website to falsely prove his membership. The screen shot shows information for a person

         whose name includes "Richard" and who is a member of the District of Columbia Bar.

21.      It was part of the scheme that on or about September 26, 2023, CROSBY applied for a

         job as an attorney with "Law Finn #6," a law firm located in or about Irvine, California.

         CROSBY used the alias "Christopher 'Rich' Miller-Williams, Esq." and provided

         falsified credentials.

22.      It was part of the scheme that on or about October 9, 2023, CROSBY used his alias to

         sign an offer letter with Law Finn #6 in which he was offered a salary of $250,000 per

         year. He returned the letter to the firm via email.

23.      It was part of the scheme that on or about October 23, 2023, CROSBY emailed an IRS

         Form W-9 to Law Finn #6. In the form, he falsely claimed that his name was Chris

         Miller and his Social Security number was xxx-xx-6139. This number belongs to a

         different person.

                                      Execution of the Scheme

24.      On or about the dates listed below, in the Southern District of Ohio and elsewhere, the

         defendant, RICHARD CROSBY, for the purpose of executing the scheme described




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       above, did transmit and cause to be transmitted in interstate commerce, by means of wire

       communications, certain signs, signals, pictures and sound described below for each

       count, each transmission constituting a separate count:

COUNT        DATE                  DESCRIPTION

1            June 1, 2021          Email to Law Fim1 #1


2            October 12, 2022      Email to recruiter for Law Finn #2


3            October 17, 2022      Email to Law Finn #2


4            July 17, 2023         Email to Law Finn #3


5            July 19, 2023         Email to Law Finn #3


6            July 25, 2023         Email to Law Finn #4


7            July 26, 2023         Email to Law Finn #4


8            August 29, 2023       Online job application to Law Finn #5


9            August 31, 2023      Email to Law Finn #5


10           September 1, 2023    Email to Law Finn #5


11           September 26,         Online job application to Law Finn #6
             2023

12           October 9, 2023      Email to Law Finn #6


13           October 23, 2023     Email to Law Finn #6




       In violation of 18 U.S.C. § 1343.




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                                         COUNTS 14-16
                                 (Social Security number fraud)

25.     The Grand Jury realleges and incorporates by reference Paragraphs 1-24 as though set

        forth in full herein.

26.     On or about the dates listed below, in the Southern District of Ohio and elsewhere, the

        defendant, RICHARD CROSBY, for the purpose of obtaining for himself and any other

        person anything of value from any person, and for any other purpose, did, with intent to

        deceive, falsely represent a number to be the social security account number assigned by

        the Commissioner of Social Security to him, when in fact, such number was not the

        social security account number assigned by the Commissioner of Social Security to him:

 COUNT        DATE                   DESCRIPTION

 14           October 17, 2022      Form I-9 for Law Firm #2


 15           October 17, 2022      Form W-4 for Law Firm #2


 16           October 23, 2023      Form W-9 for Law Firm #6




        In violation of 42 U.S.C. § 408(a)(7)(B).

                                        COUNTS 17-19
                                   (Aggravated identity theft)

27.     The Grand Jury realleges and incorporates by reference Paragraphs 1-26 as though set

       forth in full herein.

28.     On or about the dates listed below, in the Southern District of Ohio and elsewhere, the

       defendant, RICHARD CROSBY, during and in relation to any felony violation

       enumerated in 18 U.S.C. § 1028A(c), did knowingly transfer, possess, and use without

       lawful authority, a means of identification of another person:


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 COUNT        DATE                 DESCRIPTION

 17           October 17, 2022    Form I-9 for Law Firm #2


 18           October 17, 2022    Form W-4 for Law Firm #2


 19          September 1, 2023    Email to Law Firm #5



        In violation of 18 U.S.C. § 1028A

                                            A TRUE BILL.




                                            FOREPERSON
                                                         /SJ
KENNETH L. PARKER
UNITED STATES ATTORNEY


~~-d
TIMOTHY LANDRY, MA 669554
SPECIAL ASSISTANT UNITED STATES ATTORNEY




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